      Case 14-71797-pwb         Doc 282   Filed 06/03/22 Entered 06/03/22 11:55:16                   Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                           Northern District of Georgia
                                                Atlanta Division

In
Re:    HP Superior, Inc.                               Case No.: 14−71797−pwb
       5174 McGinnis Ferry Road                        Chapter: 7
       Suite 195
       Alpharetta, GA 30005
                                                       Judge: Paul W. Bonapfel
       03−0377090

       Debtor

                      AMENDED ORDER FOR PAYMENT OF SPECIAL CHARGES


It appearing to the Court that as provided by 28 U.S.C. Section 1930(b) and Order and Directives made pursuant
thereto, it is
ORDERED that S Gregory Hayes pay to the United States Bankruptcy Court the following special charges:
$ 5600.00 Deferred Filing Fee for Adversary
16−5288,16−5289,16−5290,16−5291,16−5292,16−5293,16−5294,16−5295,16−5296,16−5297,16−5298,16−5299,16−5300,
16-5301, 16-5302, 21-5048
$ 5600.00 TOTAL AMOUNT DUE
The designated party is hereby directed to pay special charges by Trustee's check, Attorney's check, cashiers check or
money order, payable to "Clerk, United States Bankruptcy
Court". Company or personal checks of Debtor−in−Possession WILL NOT BE ACCEPTED.
Chapter 11/12 payments are due within fourteen (14) days from the date of this Order. Chapter 7 Asset payments are
due upon final distribution. A copy of this order is being forwarded to the United States Trustee.
Return extra copy of this Order with payment to:
                                                       Clerk, United States Bankruptcy Court
                                                       1340 United States Courthouse
                                                       75 Ted Turner Drive, SW
                                                       Atlanta, GA 30303

It is so ordered this 3rd day of June, 2022.




                                                       United States Bankruptcy Judge
                                                       Paul W. Bonapfel

Form 438, Revised June 2015
